      ^             >
                    /^         0
                    x          ^
                    ^
                    >
                               ^
                               ?»
                    ^-
                                         1^Q

                               s»
                    ^          <
                    ?          GA

          ^
                     ^
                     ^A
               r^                           ^
               <

          ^A             a\
                     -^. ^
                     -^                      ^
                     ^


          s> r                               i
          fi-
                                             Case 3:18-cv-00614-SDD-RLB Document 3




          ^ ^        ^
                     ^
                       ,^
          ^             ?
                        ?>
                           s-
                     <^ ^


          7^         ^A        l^lc
                               c=3\ 6 00
          r^
          0^            ^.          ^0
                               <-»c'°^
                               C^ 1^~ w<A
                                    =i -~i
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                    ^
                    ^'         ^ 0
                    73         r<>T1^Q

                    ^ i^ 0     °v '18'
                         CT~         wC
                         ^           p
<J\
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